                 Case 2:17-cv-02105-JAR-GLR Document 25 Filed 03/29/17 Page 1 of 1




                                       UNITED STATES DISTRICT COURT
                                              OFFICE OF THE CLERK
                                              DISTRICT OF KANSAS


 TIMOTHY M. O’BRIEN                                                                    204 U .S . C O U R TH O U S E
       C LE R K O F C O U R T                                                               401 N . MA R K ET
                                                                                      W IC H IT A , KA N S A S 67202
                                                                                             (316) 
 INGRID A. CAMPBELL
    C H IE F D E P U TY C LE R K
                                                                                       490 U .S . C O U R TH O U S E

    259 U .S . C O U R TH O U S E            Kansas City, Kansas                            444 S .E . Q U IN C Y
                                                                                      T O P E K A , KA N S A S 66683
       500 S TA T E AV E N U E
                                                                                             (785) 
K A N S A S C IT Y, KA N S A S 66101
           (913) 
                                              March 29, 2017




     SEE NOTICE OF ELECTRONIC FILING

     Retained Counsel Appeal

     Re: Alexander Kon v. U.S. Securities and Exchange Commission
     **AMENDED PRELIMINARY RECORD
     District Court Case No: 2:17-cv-02105-JAR-GLR
     Notice of Appeal filed by: Plaintiff, Alexander Kon
     Fee Status: Paid.
            The following documents are for the parties in connection with the Notice of Appeal:
     Notice of Appeal and Copy of the Docket Sheet.

             RETAINED Counsel for the appellant is instructed to download the “Initial Appeal
     Documents and Instructions” for this appeal from www.ca10.uscourts.gov. Please follow the
     instructions for Transcript Order Form (for appellant only) and Docketing Statement (for
     appellant only) regarding counsel's responsibility for compliance. For specific requirements
     concerning transcripts, records on appeal, briefs and appendices to briefs, please refer to the
     Federal Rules of Appellate Procedure and the Rules of the Tenth Circuit Court of Appeals. Rules
     of the Tenth Circuit are available at www.ca10.uscourts.gov.

           If you have any questions, please contact the office of the Clerk of the U.S. Court of
     Appeals in Denver, Colorado at 303.844.3157.

                                                           Sincerely,
                                                           TIMOTHY M. O'BRIEN
                                                           CLERK OF COURT


                                                           By: s/ Charles Van Ness
                                                               DeputyClerk
                                                              Deputy   Clerk


     cc: Clerk, U.S. Court of Appeals
             (Notice of Appeal, Docket Sheet & Preliminary Record)
